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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: July 19, 2019

                    UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
________________________________________________________________
                      WESTERN DIVISION AT DAYTON


In re: Tagnetics Inc.,
                                                   Case No.   19‐30822

                                                   Judge Humphrey
                                                   Chapter 7



                   Order Scheduling Conference to Render Oral Decision


        On July 19, 2019 the court conducted a prehearing conference regarding Tagnetics
Inc.’s Motion to Dismiss and Compel Arbitration as to Alleged Claims Filed by Alleged Individual
Creditors Kayser, Earley, and Hager (doc. 42), the Response to Motion to Force Arbitration
(doc. 54), filed by Kenneth W. Kayser and Ronald E. Early; the Response to Motion to Force
Arbitration (doc. 56), filed by Jonathan Hager; and Tagnetics Inc.’s Reply in Support of Its
Motion to Dismiss and Compel Arbitration (doc. 62) (the “Contested Matter”). The
conference was participated in by Petitioning Creditors Kenneth W. Kayser, Ronald E. Early,
Jonathan Hager and Robert Strain, appearing pro se; Christopher L. Wesner, counsel for
Kayser Ventures Ltd. and S‐Trek Inc.; Robert R. Kracht and Stephen B. Stern, counsel for
Tagnetics Inc.; and Jeremy Shane Flannery, counsel for the United States Trustee.

       In accordance with the court’s colloquy with the parties at the conclusion of the
prehearing conference, the Contested Matter is taken under advisement and the court will
render an oral decision by phone on Tuesday, July 23, 2019 at 4:00 p.m. (Eastern Time).
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       The court will arrange the conference call with a conferencing service and all
parties will be sent an email prior to the scheduled conference with the information
necessary to connect to the call.

       IT IS SO ORDERED.

Copies to:

All Creditors and Parties in Interest

Stephen B. Stern, 238 West Street, Annapolis, Maryland 21401

Douglas S. Draper, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130

Leslie A. Collins, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130

MaryAnne Wilsbacher, Office of the United States Trustee, 170 North High Street, Suite 200,
Columbus, Ohio 43215




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